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                                #:24111




    1 GEOFFREY M. JOHNSON (admitted pro hac vice)
    2 gjohnson@scott-scott.com
        12434 Cedar Road, Suite 12
    3 Cleveland Heights, OH 44106
    4 Telephone: 216-229-6088
       Facsimile: 216-229-6092
    5
       Counsel for Plaintiff Putnam Bank
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   10                    UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
   11
   12
   13 MAINE STATE RETIREMENT                      No. 2:10-CV-00302 MRP (MAN)
       SYSTEM, Individually and On Behalf
   14 of All Others Similarly Situated,           CLASS ACTION
   15
                    Plaintiff,                    Date:      October 28, 2013
   16                                             Time:      1:30 pm
            VS.                                   Courtroom: 12
   17                                             Judge:     Hon. Mariana R. Pfaelzer
   18 COUNTRYWIDE FINANCIAL
       CORP., et al.
   19
                   Defendants.
   20
   21
          DECLARATION OF GEOFFREY M. JOHNSON ON BEHALF OF
   22     SCOTT+SCOTT, ATTORNEYS AT LAW, LLP IN SUPPORT OF
   23         MOTION FOR ATTORNEYS' FEES AND EXPENSES
   24
   25
   26
   27
   28
               DECLARATION OF GEOFFREY M. JOHNSON ON BEHALF OF SCOTT+SCOTT,
         ATTORNEYS AT LAW, LLP IN SUPPORT OF MOTION FOR ATTORNEYS' FEES AND EXPENSES
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     1         1, Geoffrey M. Johnson, declare and state, under penalty of perjury, that the
     2 following is true and correct to the best of my knowledge, information and belief:
     3         1.     I am a partner of the law firm of Scott+Scott, Attorneys at Law, LLP,
     4 I which represents Putnam Bank in this litigation. I submit this declaration in support
     5 of Lead Plaintiffs' application for an award of attorneys' fees in connection with
     6 services rendered in this case, as well as the reimbursement of expenses incurred by
     7 our firm in connection with this litigation.
     8'       2.    The hourly rates for the attorneys and professional support staff in
     9 our firm included in Exhibit 1 are the same as the regular current rates charged for
    10 their services in non-contingent matters and/or which have been accepted in other
    11 securities or shareholder litigation.
    12         3.     The total number of hours expended on this litigation by our firm
    13 ~ through August 31, 2013 is 960.50 hours. The total lodestar for our firm is
    14 ~ $564,455.50, consisting of $536,122.50 for attorneys' time and $28,333.00 for
    15 professional support staff time.
    16         4.     Our firm's lodestar figures are based upon the firm's billing rates,
    17 which rates do not include charges for expense items. Expense items are billed
    18 separately and such charges are not duplicated in our firm's billing rates.
   19          5.    As detailed in Exhibit 2, our firm has incurred a total of $19,163.37
   20 in unreimbursed expenses in connection with the prosecution of this litigation.
   21          6.    The expenses incurred in this action are reflected on the books and
   22 ~ records of our firm. These books and records are prepared from expense
   23 vouchers, check records and other source materials and are an accurate record of
   24 the expense incurred.
   25          7.    With respect to the standing of our firm, attached hereto as Exhibit 3
   26 is a brief biography of my firm.
   27
   28            DECLARATION OF GEOFFREY M. JOHNSON ON BEHALF OF SCOTT+SCOTT,
           ATTORNEYS AT LAW, LLP IN SUPPORT OF MOTION FOR ATTORNEYS' FEES AND EXPENSES
                                                   1
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                                #:24113




        I        I declare under penalty of perjury under the laws of the state of Ohio that the
        2 foregoing is true and correct. Executed this 20th day of September, 2013, at
        3 Cleveland He i ghts, Ohio.
        4
                                                   Geoffrey M. Johnson (pro hac vice)
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    K,
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   28              DECLARATION OF GEOFFREY M. JOHNSON ON BEHALF OF SOTF+SCOF,
             ATTORNEYS AT LAW, LLP IN SUPPORT OF MOTION FOR ATTORNEYS' FEES AND EXPENSES
                                                    2
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                              EXHIBIT 1




                                    3

                                Exhibit 1
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                                #:24115




                                      Putnam Countrywide
                                    Time and Lodestar Report
                                         Scott + Scott LLP
                          Reporting Period: Inception to August 31,2013


                                                                    :..         o.
              Name                 Total Hours     :,Hourly a             Total lodestar...
   Partners
     David Scott                     120.30             $775.00            $93232.50
     Christopher Burke                 0.40             $775.00              $310.00
     Beth Kaswan                       0.20             $775.00              $155.00
     Debbie Weintraub                  0.20             $775.00              $155.00
    Judy Scolnick                     11.00             $770.00             $8,470.00
    Joseph Guglielmo                   2.40             $710.00             $1,704.00
    William Fredericks                21.30             $775.00            $16,507.50
    Geoff Johnson                    226.10             $690.00           $156,009.00
    Daryl Scott                       2.60              $675.00             $1,755.00
    Donald Broggi                     3.00              $675.00             $2025.00
       Total Partners                387.50                               $280,323.00

   Of Counsel
    Anne Box                         98.20              $680.00            $66,776.00
    Joseoh Cohen                      5.30              $680.00             $3,604.00
       Total Of Counsel              103.50                                $70.380.00

   Associates
     Mary Blasy                       23.50             $635.00            $14,922.50
     Michael Burnett                  29.20             $635.00            $18,542.00
    Thomas Laughlin                   38.90             $575.00            $22,367.50
     Hal Cunningham                   99.40             $550.00            $54,670.00
    Penelope Abdiel                   0.30              $425.00             $127.50
    Stephen Teti                     184.60             $400.00            $73,840.00
    John Jasnoch                       1.50             $380.00             $570.00
    Ryan Wagenleitner                  1
      Total Associates               378.40                               $185,419.50

   Paralegals
     Mario Tlatenchi                  4.00              $280.00             $1,120.00
     Erica Mayo                                         $150.00                 0.00
     Katherine Messana                                  $180.00                $0.00
    Tamar Pacht                       1.70              $270.00              $459.00
     Ellen Dewan                     60.60              $320.00            $19,392.00
     Kimberly Jager                   7.60              $270.00             $2,052.00
     Barbara Collazo                  0.20              $270.00               $54.00
     Lynda Ferguson                   4.60              $280.00             $1,288.00
    Ann Slauehter                    12.40              $320.00             $3,968.00
       Total Paralegals              91.10                                 $28.333.00

    TOTALS                           960.50                               $564455.50




                                                               4

                                                       Exhibit 1
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                              EXHIBIT 2




                                    5

                                Exhibit 2
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                                             Putnam Countrywide
                                                Expense Report
                                                Scott + Scott LLP
                                 Reporting Period: Inception to August 31, 2013



                                 DISBURSEMENTS                                      TOTAL

  Courier                                                                          $381.00
  Court Reporters/Transcripts                                                      $172.50
  Filing, Witness & Other Fees                                                    $4,556.15
  On-Line Research                                                                $2,483.42
  Photocopies                                                                     $2,446.50
  Postage                                                                           $24.00
  Press Releases                                                                   $275.00
  Staff Overtime                                                                   $204.32
  Telephone, Facsimile                                                             $278.57
  Travel (Meals, Hotels & Transportation)                                         $8,341.91
                                     TOTAL                                        $19,163.37




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                                                      Exhibit 2
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                              EXHIBIT 3




                                    7

                                Exhibit 3
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                                #:24119




      SCOTT+SCOTT,
         ATTORNEYS AT LAW, LLP
                                                                                       ATTORNEYS AT.AVs




     MISSION STATEMENT

     Scott+Scott, Attorneys at Law, LLP ("Scott+Scott") is a nationally recognized law firm
     headquartered in Connecticut with offices in California, New York City, and Ohio. Scott+Scott
     represents individuals, businesses, public and private pension funds, and others who have
     suffered from corporate fraud and wrongdoing. Scott+Scott is directly responsible for
     recovering hundreds of millions of dollars and achieving substantial corporate governance
     reforms on behalf of its clients. Scott+Scott has significant expertise in complex securities,
     antitrust, consumer, ERISA, and civil rights litigation in both federal and state courts. Through
     its efforts, Scott+Scott promotes corporate social responsibility.

     SECURITIES AND CORPORATE GOVERNANCE

     Scott+Scott represents individuals and institutional investors that have suffered from stock fraud
     and corporate malfeasance. Scott+Scott's philosophy is simple — directors and officers should be
     truthful in their dealings with the public markets and honor their duties to their shareholders.
     Since its inception, Scott+Scott's securities and corporate governance litigation department has
     developed and maintained a reputation of excellence and integrity recognized by state and
     federal and state courts across the country. "It is this Court's position that Scott+Scott did a
     superlative job in its representation, which substantially benefited Ariel .... For the record, it
     should be noted that Scott+Scott has demonstrated a remarkable grasp and handling of the
     extraordinarily complex matters in this case .... They have possessed a knowledge of the issues
     presented and this knowledge has always been used to the benefit of all investors." N.Y. Univ. v.
     Ariel Fund Ltd., No. 603803/08, slip. op. at 9-10 (N.Y. Sup. Ct. Feb. 22, 2010). "The quality of
     representation here is demonstrated, in part, by the result achieved for the class. Further, it has
     been this court's experience, throughout the ongoing litigation of this matter, that counsel have
     conducted themselves with the utmost professionalism and respect for the court and the judicial
     process." In re Priceline.com, Inc. Sec. Litig., No. 00-cv-01884, 2007 WL 2115592, at *5 (D.
     Conn. July 20, 2007).

     Scott+Scott has successfully prosecuted numerous class actions under the federal securities laws,
     resulting in the recovery of hundreds of millions of dollars for shareholders. Representative
     cases prosecuted by Scott+Scott under the Securities and Exchange Act of 1934 include: In re
     Priceline.com, Inc. Sec. Litig., No. 00-cv-01884 (D. Conn. July 19, 2007) ($80 million
     settlement); Irvine v. ImClone Sys., Inc., No. 02-cv-00109 (S.D.N.Y. July 29, 2005) ($75 million
     settlement); Cornwell v. Credit Suisse Group, No. 08-cv-03758 (S.D.N.Y. July 20, 2011) ($70
     million settlement); and Schnall v. Annuity and Life Re (Holdings) Ltd., No. 02-cv-2133 (D.
     Conn. June 13, 2008) ($26.5 million settlement). Representative cases prosecuted by




                                                      8

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      Scott+Scott under the Securities Act of 1933 include: Parker v. National City Corp., No. CV-08-
      657360 (Ohio Ct. Com . Pl., Cuyahoga County, June 23, 2010) ($5.25 million settlement); and
      Hamel v. GT Solar International, Inc., No. 217-2010-CV-05004 (N.H. Super. Ct., Merrimack
      County, May 10, 2011) ($10.25 million settlement).

      Scott+Scott currently serves as court-appointed lead counsel in various federal securities class
      actions, including St. Lucie County Fire District Firefighter's Pension Trust Fund v. Oilsands
      Quest Inc., No. 11-cv-1288-JSR (S.D.N.Y. May 23, 2011); In re Washington Mutual Mortgage
      Backed Securities Litigation, No. 09-cv-0037 (W.D. Wash. Oct. 23, 2009); and West Palm Beach
      Police Pension Fund v. CardioNet, Inc., No. 37-2010-00086836-CU-SL-CTL "(Cal. Super. Ct.,
      San Diego County, 2010) ($7.25 million settlement pending).

      In addition to prosecuting federal securities class actions, Scott+Scott has a proven track record
      of handling corporate governance matters through its extensive experience litigating shareholder
      derivative actions. Representative actions include: In re Marvell Tech. Group Ltd. Derivative
      Litigation, No. C-06-03894-RMW (RS) (N.D. Cal. Aug. 11, 2009) ($54.9 million and corporate
      governance reforms); In re Qwest Communications International, Inc., No. Civ. 01-RB-1451 (D.
      Colo. June 15, 2004) ($25 million and corporate governance reform); Carfagno v. Schnitzer, No.
      08-cv-912-SAS (S.D.N.Y. May 18, 2009) (modification of terms of preferred securities issued to
      insiders valued at $8 million); and Garcia v. Carrion, No. 3:09-cv-01507 (D.P.R. Sept. 12, 2011)
      (settlement of derivative claims against the company and its officers and directors providing for
      corporate governance reforms valued between $10.05 million and $15.49 million).

     Currently, Scott+Scott is actively prosecuting shareholder derivative actions, including Plymouth
     County Contributory Retirement Fund v. Hassan, No. 08-cv-1022 (D.N.J.); Louisiana Municipal
     Police Employees Retirement System v. Ritter, 20-CV-01588 (Ala. Cir. Ct., Jefferson County);
     Estate of Jacquelin K Stevenson v. Kavanaugh, No. 08-CP-10-1735 (S.C. Ct. Com . Pl.,
     Charleston County); Currie v. Begley, No. 2011 MR 000608 (Ill. Cir. Ct., Kane County); and
     North Miami Beach General Employees Retirement Fund v. Parkinson, No. 1006514 (N.D. Ill.).

      ANTITRUST

     Scott+Scott is actively involved in litigating complex antitrust cases throughout the United
     States. Scott+Scott represents consumers and businesses in price-fixing, bid-rigging,
     monopolization, and other restraints of trade cases. In such actions, Scott+Scott works to ensure
     that the markets remain free, open, and competitive to the benefit of both consumers and
     business. Scott+Scott's class action antitrust experience includes serving as co-trial counsel in In
     re Scrap Metal Antitrust Litigation, 02-cv-0844-KMO (N.D. Ohio), where it helped obtain a
     $34.5 million jury verdict, which was subsequently affirmed by the United States Court of
     Appeals for the Sixth Circuit. See In re Scrap Metal Antitrust Litigation, 527 F.3d 517, 524 (6th
     Cir. 2008).

     Scott+Scott currently serves as lead counsel in a number of class action antitrust cases, including
     Dahl v. Bain Capital Partners, LLC, No. 1:07-cv-12388 (D. Mass.) (challenging bid rigging and
     market allocation in the private equity/leveraged-buyout industry), and In re WellPoint, Inc. Out-
     Of-Network "UCR" Rates Litigation, No. 2:09-ml-02074 (C.D. Cal.) (challenging price-fixing in




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      the health insurance industry), and In re Korean Air Lines Co., LTD. Antitrust Litigation, MDL
      No. 1891, No. CV 07-06542 (C.D. Cal.) (challenging price fixing/illegal surcharge).
      Additionally, Scott+Scott serves on leadership executive committees in various class action cases
      including In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, No.
      1:05-md-1720 (E.D.N.Y.) (one of the largest class actions ever brought), and In re Aetna UCR
      Litigation, MDL No. 2020 (D.N.J.) (price-fixing in the health insurance industry).

      In addition to antitrust class actions, Scott+Scott represents clients in opt-out antitrust litigation.
      Past clients include publicly traded corporations, such as Parker Hannifin Corporation and
      PolyOne Corporation. Representative opt-out litigation prosecuted by Scott+Scott includes In re
      Rubber Chemicals Antitrust Litigation, MDL No. 1648 (N.D. Cal.); In re Polychloroprene
      Rubber (CR) Antitrust Litigation, MDL No. 1642 (D. Conn.); and In re Plastic Additives
      Antitrust Litigation (No. II), MDL No. 1684 (E.D. Pa.).

      CONSUMER RIGHTS

      Scott+Scott regularly represents the rights of consumers throughout the United States by
      prosecuting class actions under federal and state laws. In Gunther v. Capital One, N.A., No. 09-
      2966-ADS-AKT (E.D.N.Y.), Scott+Scott obtained a net settlement resulting in class members
      receiving 100% of their damages. Other settlements obtained by Scott+Scott include In re Kava
      Kava Litigation, Lead Case No. BC 269717 (Cal. Super. Ct., Los Angeles County); Fischer v.
      MasterCard International, Inc., No. 600572/2003 (N.Y. Sup. Ct. and New York County); Salkin
      v. MasterCard International Incorporated, No. 002648 (Penn, Ct. Corn. P1., Philadelphia
      County).

      Scott+Scott currently serves as lead counsel in In re Prudential Insurance Company of America
      SGLI/VGLI Contract Litigation, No. 3:11-md-02208-MAP (D. Mass.) (challenging Prudential's
      actions relating to the issuance of life insurance contracts to the nation's military personnel and
      dependents); In re Nutella Marketing and Sales Practices Litigation, No. 3:11-cv-01086-FLW-
      DEA (D.N.J.); and Franco v. Connecticut General Life Insurance Co., No. 07-cv-6039-SRC-PS
      (D.N.J.) (challenging the reimbursement of out-of-network healthcare charges).

      EMPLOYEE BENEFITS (ERISA)

      Scott+Scott litigates complex class actions across the United States on behalf of corporate
      employees alleging violations of the federal Employee Retirement Income Security Act. ERISA
      was enacted by Congress to prevent employers from exercising improper control over retirement
      plan assets and requires that pension and 401(k) plan trustees, including employer corporations,
      owe the highest fiduciary duties to retirement plans and their participants as to their retirement
      funds. Scott+Scott is committed to continuing its leadership in ERISA and related employee-
      retirement litigation, as well as to those employees who entrust their employers with hard-earned
      retirement savings. Representative recoveries by Scott+Scott include: In re Royal Dutch/Shell
      Transport ERISA Litigation, No. 2:04-cv-01398-JWB-SDW (D.N.J. Aug. 30, 2005) ($90 million
      settlement); In re General Motors ERISA Litigation, No. 2:05-cv-71085-NGE-RSW (E.D. Mich.
      June 5, 2008) ($37.5 million settlement); and Rantala v. ConAgra Foods, No. 8:05-cv-00349-
      LES-TDT (D. Neb.) ($4 million settlement).




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                                                 Exhibit 3
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      CIVIL RIGHTS LITIGATION

      Scott+Scott has also successfully litigated cases to enforce its clients' civil rights. In The Vulcan
      Society, Inc. v. The City of New York, No. 1:07-cv-02067-NGG-RLM (E.D.N.Y.), Scott+Scott
      was part of a team of lawyers representing a class of black applicants who were denied or
      delayed employment as New York City firefighters due to decades of racial discriminatory
      conduct. The district court certified the class in a post-Walmart v. Dukes decision, granted
      summary judgment against the City on both intentional discrimination and disparate impact
      claims, and after trial ordered broad injunctive relief, including a new examination, revision of
      the application procedure, and continued monitoring by a court-appointed monitor for at least 10
      years. The back pay and compensatory damage award will be determined in a subsequent ruling.
      In Hohider v. United Parcel Services, Inc., No. 2:04-cv-00363-JFC (W.D. Penn.), Scott+Scott
      obtained significant structural changes to UPS's Americans with Disabilities Act compliance
      policies and monetary awards for some individual employees in settlement of a ground-breaking
      case seeking nationwide class certification of UPS employees who were barred from
      reemployment after suffering injuries on the job.




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      ATTORNEY BACKGROUND AND EXPERIENCE

      MELVIN SCOTT is a graduate of the University of Connecticut (B.A. 1950) and the University
      of Kentucky (M.A. 1953; LL.B. 1957). Mr. Scott founded the firm in 1975. He formerly
      practiced in Kentucky and is presently admitted to practice in Connecticut and Pennsylvania.
      Mr. Scott was a member of the Kentucky Law Review, where he submitted several articles for
      publication. He has served as an Attorney Trial Referee since the inception of the program in the
      State of Connecticut and is a member of the Fee Dispute Committee for New London County.
      Mr. Scott also formerly served as a Special Public Defender in criminal cases and as a member
      of the New London County Grievance Committee. Mr. Scott actively represents aggrieved
      parties in securities, commercial and criminal litigation and served or serves as counsel in Irvine,
      et al. v. ImClone Systems, Inc., et al.; Schnall, et al. v. Annuity and Life Re (Holdings) Ltd., et al.;
      In re 360networks Class Action Securities Litigation; In re General Motors ERISA Litigation,
      and Hohider v. UPS, among others.

      DAVID R. SCOTT is a graduate of St. Lawrence University (B.A., cum laude, 1986), Temple
      University School of Law (J.D., Moot Court Board, 1989), and New York University School of
      Law (LL.M. in taxation). He concentrates in commercial and class action trial work. Mr. Scott's
      trial work involves antitrust, intellectual property, commercial, and complex securities litigation.
      Mr. Scott's antitrust litigation experience includes matters dealing with illegal tying, price-fixing
      and monopolization actions. He has served as lead counsel in numerous antitrust and securities
      class action lawsuits. Notably, Mr. Scott served as co-lead counsel in In re Priceline.com, Inc.
      Securities Litigation ($80 million settlement); Thurber v. Mattel, Inc. ($122 million settlement);
      In re Emulex Corp. Securities Litigation ($39 million settlement); In re Sprint Securities
      Litigation ($50 million settlement); In re Northwestern Corporation Securities Litigation
      ($61 million settlement); Irvine, et al. v. ImClone Systems, Inc., et al. ($75 million settlement);
      Schnall, et al. v. Annuity and Life Re (Holdings) Ltd., et al. ($27 million settlement); In re Qwest
      Communications International, Inc. (significant corporate governance reforms and $25 million
      for the company), and In re General Motors ERISA Litigation (significant enhancements to
      retirement plan administration in addition to a $37.5 million settlement for plan participants),
      among others. His securities litigation experience includes matters dealing with securities fraud
      class actions, derivative/corporate governance litigation, and representation of start-up
      technology companies in private securities litigation. Presently, Mr. Scott is serving as lead
      counsel in In re General Motors ERISA Litigation; In re Priceline. com , Inc. Securities Litigation;
      and In re Marvell Technology Group Ltd. Derivative Litigation (option-backdating litigation)
      among others. Mr. Scott is admitted to practice in Connecticut, New York, Pennsylvania, the
      United States Tax Court, and numerous United States District Courts.

      BETH KASWAN has represented plaintiffs in cases involving securities and consumer fraud
      since 1998. Prior to 1998, Ms. Kaswan served in the Giuliani administration as New York City's
      Chief Procurement Officer, a Deputy Commissioner in the Department of Investigations and the
      Finance Department's Chief Counsel. Ms. Kaswan, having majored in accounting in college,
      began her career at Peat, Marwick, Mitchell & Co. and later served as a trial attorney with the
      U.S. Department of Justice, Tax Division. In 1985, she joined the U.S. Attorney's Office for the
      Southern District of New York, and was promoted to Chief of Commercial Litigation and then
      Deputy Chief of the Civil Division. While employed by the government, Ms. Kaswan litigated




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      several high-profile cases to judgment, including the landmark case of United States v.
      Gleneagles Inv. Co., where following a multi-stage, thirteen-month trial, the fraudulent
      conveyance laws were first applied to set aside a leveraged buy-out. She also represented the
      Federal Reserve for its enforcement actions against the rogue bank, BCCI, leading to the global
      RICO plea agreement and forfeiture of BCCI's $550 million of United States assets; the IRS for
      its $5 billion claim against Drexel, the Defense Department and MARAD for qui tam and other
      false claims actions against Goodyear Aerospace, Loral and General Dynamics and the FDA to
      enjoin the manufacture of adulterated generic drugs. See, e.g., United States v. Gleneagles Inv.
      Co., 565 F. Supp. 556 (" Gleneagles F'), 571 F. Supp. 935 (" Gleneagles IF'), 584 F. Supp. 671
      ("Gleneagles III") (M.D. Pa. 1981), aff'd in part and rev'd in part sub. nom., United States v.
      Tabor Ct. Realty Corp., 803 F.2d 1288 (3d Cir. 1986); In re Smouha ("BCCF'), 136 B.R. 921
      (S.D.N.Y. 1992); United States v. Davis, 803 F. Supp. 830 (S.D.N.Y. 1992), aff'd in part and
      rev'd in part sub. nom., United States v. General Dynamics Corp., 19 F.3d 770 (2d Cir. 1994);
      United States v. Barr Laboratories, Inc., 812 F. Supp. 458 (D.N.J. 1993). Ms. Kaswan received
      several awards from the Justice Department and the agencies she represented, including the
      Justice Department's John Marshall award, Special Commendation from the Attorney General, a
      Superior Performance award from the Executive Office of U.S. Attorneys, Tax Division
      Outstanding Achievement awards, and awards from the FDA Commissioner and U.S. Customs
      Service. She has testified before the New York legislature as a government expert on money-
      laundering and lectured in Justice Department training programs on evidence and other subjects.

      CHRISTOPHER M. BURKE is a graduate of The Ohio State University (B.A. 1984), William
      & Mary (M.A. 1988), and the University of Wisconsin (M.A. 1989; J.D. 1993; Ph.D. 1996).
      Mr. Burke's principal practice is in complex antitrust, consumer, and other representative
      litigation and heads Scott+Scott's antitrust and consumer law practices. Prior to joining
      Scott+Scott, his practice centered on complex antitrust and unfair competition matters.
      Mr. Burke served as co-lead counsel in In re Currency Conversion Antitrust Litigation
      ($336 million settlement); In re Payment Card & Merchant Fee Antitrust Litigation; In re
      Digital Music Antitrust Litigation (Starr v. Sony BMG, et al.), and was one of the trial counsel in
      Schwartz v. Visa ($800 million plaintiff verdict). Currently, Mr. Burke is one of the lead counsel
      in Dahl v. Bain Capital Partners; In re WellPoint, Inc. Out-of- Network "UCR" Litigation; In re
      Korean Airlines Co., Ltd. Antitrust Litigation; and In re Prudential Ins. Co. of America
      SGLI/VGLI Antitrust Litigation. Further, he is class counsel in Ross v. Bank of America N.A.,
      and serves on the Executive Committee in In re Aetna, Inc. Out of Network "UCR" Rates
      Litigation and In re Payment Card and Merchant Discount Antitrust Litigation. Mr. Burke
      served as an Assistant Attorney General at the Wisconsin Department of Justice and has lectured
      on law-related topics, including constitutional law, law and politics and civil rights at the State
      University of New York at Buffalo and at the University of Wisconsin. Mr. Burke continues to
      lecture periodically and present CLE courses on class actions, financial services litigation, and
      emerging trends in antitrust and consumer law. Mr. Burke's book, The Appearance of Equality:
      The Supreme Court and Racial Gerrymandering (Greenwood, 1999), examines conflicts over
      voting rights and political representation within the competing rhetoric of communitarian and
      liberal strategies of justification. Mr. Burke is admitted to practice by the Supreme Court of the
      State of California, the Supreme Court of the State of Wisconsin, and numerous United States
      District Courts.




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      JOSEPH P. GUGLIELMO represents institutional and individual clients in consumer and
      securities litigation in state and federal courts throughout the United States and has achieved
      numerous successful outcomes.

      Recently, Mr. Guglielmo, along with other attorneys at Scott+Scott, was recognized for his
      efforts representing New York University in obtaining a monumental temporary restraining order
      of over $200 million from a Bernard Madoff feeder fund. Specifically, New York State Supreme
      Court Justice Richard B. Lowe III stated, "Scott+Scott demonstrated a remarkable grasp and
      handling of the extraordinarily complex matters in the case. The extremely professional and
      thorough means by which NYU's counsel has litigated this matter has not been overlooked by
      this Court."

      Mr. Guglielmo serves in a leadership capacity in a number of complex antitrust and consumer
      actions including: In re WellPoint, Inc. Out-of-Network "UCR" Rates Litigation, MDL No.
      2074 (C.D. Cal.); In re: Nexium (Esomeprazole) Antitrust Litigation, MDL No. 2409 (D. Mass.);
      and Mr. Guglielmo also represents lead plaintiffs in a number of securities and derivative actions
      including: In re SinoHub Securities Litigation, No. 1:12-cv-08478 (S.D.N.Y.) and Municipal
      Police Employees Retirement System v. Ritter (Regions Bank), 01-CV-2009-901494.00 (Cir. Ct.
      Jefferson County Ala.).

      Mr. Guglielmo has achieved significant victories and obtained numerous settlements for his
      clients. He was extensively involved in the litigation and settlement of In re Managed Care
      Litigation, MDL No. 1334 (S.D. Fla.), which included settlements with Aetna, CIGNA,
      Prudential, Health Net, Humana, and WellPoint providing monetary and injunctive benefits
      exceeding $1 billion. Additional cases Mr. Guglielmo played a leading role and obtained
      substantial recoveries for his clients include: Love v. Blue Cross and Blue Shield Ass'n, No. 03-
      cv-21296 (S.D. Fla.), which resulted in settlements of approximately $130 million and injunctive
      benefits valued in excess of $2 billion; In re Insurance Brokerage Antitrust Litigation, MDL No.
      1897 (D.N.J.), settlements in excess of $180 million; In re Aetna, Inc. Out-of-Network "UCR"
      Rates Litigation, MDL 2020 (D.N.J.) $120 million dollar class settlement pending; In re Pre-
      Filled Propane Tank Marketing and Sales Practices Litigation, MDL 2086 (W.D. Mo.) consumer
      settlements in excess of $40 million; Bassman v. Union Pacific Corp., No. 97-cv-02819 (N.D.
      Tex.), $35.5 million securities class action settlement; Garcia v. Carrion, Case No. CV. 11-1801
      (D. P.R. 2011) substantial corporate governance reforms; and Boilermakers National Annuity
      Trust Fund v. WaMu Mortgage Pass-Through Certificates, No. 09-cv-00037 (W.D. Wash.)
      $26 million securities class action settlement. Mr. Guglielmo obtained a significant decision by
      the Hawaii Supreme Court in Hawaii Medical Association v. Hawaii Medical Service
      Association, 113 Hawaii 77 (Haw. 2006), reversing the trial court's dismissal and clarifying his
      clients' rights under the state's unfair competition law.

      Mr. Guglielmo is an author and lecturer on a variety of litigation programs sponsored by various
      organizations, including The Sedona Conference®, an organization devoted to providing
      guidance and information concerning issues such as discovery, antitrust law, complex litigation,
      and intellectual property. Mr. Guglielmo was recognized for his achievements in litigation by
      his selection to The National Law Journal's Plaintiffs' Hot List.




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      Mr. Guglielmo graduated from the Catholic University of America (B.A., cum laude, 1992; J.D.,
      1995) and also received a Certificate of Public Policy.

      Mr. Guglielmo is admitted to practice before numerous federal and state courts, including the
      United States Supreme Court, the New York State Bar, the District of Columbia Bar and the
      Commonwealth of Massachusetts Bar. He is a member of the District of Columbia Bar, New
      York State Bar Association, American Bar Association, and The Sedona Conference®.

      GEOFFREY JOHNSON is a graduate of Grinnell College (B.A., with honors, 1996) and the
      University of Chicago Law School (J.D., with honors, 1999), where he served on the law review.
      An attorney with the firm's Ohio office, Mr. Johnson's main practice areas include securities and
      ERISA class action litigation, corporate governance, and other complex commercial litigation,
      including among others In re Priceline.com, Inc. Securities Litigation and In re GM ERISA
      Litigation. Prior to joining Scott+Scott, Mr. Johnson clerked for the Honorable Karen Nelson
      Moore, Sixth Circuit United States Court of Appeals. Mr. Johnson has been active in pro bono
      matters, handling cases for the Legal Aid Society of Cleveland. Mr. Johnson is a member of the
      Ohio Bar.

      JUDY SCOLNICK is a graduate of New York University (B.A., cum laude 1972), Brandeis
      University (M.A. 1973) and Boston College Law School (J.D., summa cum laude 1976), where
      she served on the Boston College Industrial and Commercial Law Review. She began her career
      as a law clerk to the late Honorable Anthony Julian of the United States District Court in
      Massachusetts, and then served as a trial attorney in the Civil Division of the United States
      Department of Justice from 1977 until 1981. As a trial attorney, Ms. Scolnick was the lead
      counsel in several high-profile employment discrimination lawsuits against various U.S. agencies
      around the country. She also drafted the policy position followed by all U.S. Attorneys' offices
      concerning employment discrimination cases that ensured coordination between the positions of
      the Civil Rights Division as prosecutor of discrimination cases against private employer and the
      Civil Division as the defender of employment cases against U.S. agencies. Since joining the
      Firm in July 2007, Ms. Scolnick has principally practiced complex litigation in the fields of
      shareholder derivative law, consumer rights and employment law. She has contributed
      substantially to recent jurisprudence expanding shareholders' rights to examine books and
      records of the corporations in which they hold stock. In Cain v. Merck & Co., Inc., 415 N.J.
      Super. 319 (N.J. Super. A.D. 2010), the New Jersey Appellate Division agreed with
      Ms. Scolnick and held in a precedential decision that the New Jersey Business Corporation Act
      allows shareholders to inspect the minutes of board of directors and executive committee
      meetings upon a showing of a proper purpose. In King v. VeriFone Holdings, Inc., 12 A.3d 1140
      (Del. Supr. 2011), the Delaware Supreme Court ruled in a ground-breaking decision that Plaintiff
      may, in certain circumstances, inspect a corporation's books and records to bolster a shareholder
      derivative complaint even after they have filed a lawsuit. Ms. Scolnick is admitted to practice in
      New York, New Jersey, and Massachusetts.

      WALTER NOSS graduated magna cum laude from the University of Toledo with a Bachelor of
      Arts in Economics in 1997. He received his Juris Doctorate with honors from The Ohio State
      University College of Law in 2000. Mr. Noss is a member of the California and Ohio Bars.




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      Since joining the Firm in April 2004, Mr. Noss has principally practiced complex litigation,
      including antitrust, securities, and shareholder derivative actions. Mr. Noss currently serves as
      one of the primary litigation counsel in Dahl v. Bain Capital Partners LLC, No. 1:07-cv-12388-
      EFH (D. Mass.), a case challenging collusion in the private equity/LBO industry.

      Mr. Noss has successfully represented corporate opt-out clients in antitrust actions, including In
      re Rubber Chemicals Antitrust Litigation, MDL No. 1648 (N.D. Cal.); In re Polychloroprene
      Rubber (CR) Antitrust Litigation, MDL No. 1642 (D. Conn.); and In re Plastics Additives (No.
      II) Antitrust Litigation, MDL No. 1684 (E.D. Pa.).

      Mr. Noss has successful federal civil jury trial experience. In April 2011, Mr. Noss served as
      lead trial counsel in Novak v. Gray, No. 8:09-cv-00880-RAL-TGW (M.D. Fla.), obtaining a
      $4.1 million jury verdict for breach of oral contract and fraudulent inducement. In December
      2009, Mr. Noss served as plaintiffs' local counsel at trial in Lederman v. Popovich, No. 1:07-cv-
      00845-DCN (N.D. Ohio), resulting in a $1.8 million jury verdict for plaintiffs on claims of
      breach of fiduciary duties, conversion, and unjust enrichment. In January and February 2006,
      Mr. Noss assisted the trial team for In re Scrap Metal Antitrust Litigation, No. 1:02-cv-0844-
      KMO (N.D. Ohio 2006), resulting in a $34.5 million class action plaintiffs' verdict.

      Mr. Noss serves as the Firm's managing partner for its San Diego office.

      DONALD A. BROGGI is a graduate of the University of Pittsburgh (B.A. 1990) and Duquesne
      University School of Law (J.D. 2000). He is engaged in the Firm's complex securities, antitrust,
      and consumer litigation, including In re Priceline.com, Inc. Securities Litigation, Irvine, et al. v.
      Imclone Systems, Inc., et al. ;In re Rubber Chemicals Antitrust Litigation;In re Plastic Additives
      Antitrust Litigation, and Hohider v. UPS, among others. Currently, Mr. Broggi dedicates his
      efforts to the Firm's institutional investor department and consulting with institutional investors
      in the United States and Europe on issues relating to corporate fraud in the U.S. securities
      markets, as well as corporate governance issues. Mr. Broggi presents at investor conferences in
      the United States on the value of shareholder activism as a necessary component of preventing
      corporate fraud abuses. Mr. Broggi is admitted to practice by the States of Pennsylvania and
      New York.

      DEBORAH CLARK- WEINTRAUB graduated from St. John's University, Queens, New York
      (B.A., summa cum laude, 1981; President's Award in recognition of achieving highest GPA
      among graduates of St. John's College of Liberal Arts and Science) and Hofstra Law School in
      Hempstead, New York (J.D. with distinction, 1986). While. in law school, Ms. Weintraub was a
      member and research editor of the Hofstra Law Review. Following her graduation from Hofstra
      Law School, Ms. Weintraub served as a law clerk to the Honorable Jacob Mishler, United States
      District Judge for the Eastern District of New York (1986-1987).

      Ms. Weintraub has extensive securities class action experience and has acted as plaintiffs' co-
      lead counsel in numerous cases that have obtained substantial recoveries for defrauded investors.
      Additionally, Ms. Weintraub was one of the lead counsel in In re Oxford Health Plans, Inc.
      Securities Litigation, MDL No. 1222 (CLB) (S.D.N.Y.), in which a cash settlement of $300
      million was obtained on the eve of trial after more than five years of litigation. At the time, the




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      $300 million cash recovery was one of the largest recoveries ever achieved in a securities class
      action. The Honorable Charles L. Brieant, Jr., who presided over this case described it as
      "perhaps the most heavily defended, ardently pursued defense of a similar case that I can recall."
      Ms. Weintraub also served plaintiffs' co-lead counsel in In re CVS Corporation Securities
      Litigation, No. 01-11464 (JLT) (D. Mass.), in which a cash settlement of $110 million was
      obtained for investors. Following the settlement in March 2006, CVS disclosed that the SEC had
      opened an inquiry into the manner in which CVS had accounted for a barter transaction, a
      subject of the class action suit, and that independent counsel to the firm's audit committee had
      concluded in December 2005 that various aspects of the company's accounting for the
      transaction were incorrect, leading to the resignations of the company's controller and treasurer.

      Ms. Weintraub is the co-author of "Gender Bias and the Treatment of Women as Advocates,"
      Women in Law (1998), and the "Dissenting Introduction" defending the merits of securities class
      action litigation contained in the 1994 monograph "Securities Class Actions: Abuses and
      Remedies," published by the National Legal Center for the Public Interest. She is a member of
      the American Bar Association, the New York State Bar Association, the Association of the Bar
      of the City of New York, and the American Association for Justice (formerly the Association of
      Trial Lawyers of America).

      WILLIAM C. FREDERICKS holds a B.A. (with high honors) from Swarthmore College (Pa.),
      an M. Litt. in International Relations from Oxford University (England), and a J.D. from
      Columbia University Law School (N.Y.). At Columbia, Mr. Fredericks was also a three-time
      Harlan Fiske Stone Scholar, a Columbia University International Fellow, and the winner of the
      law school's Beck Prize (property law), Toppan Prize (advanced constitutional law), Greenbaum
      Prize (written advocacy), and Dewey Prize (oral advocacy).

      After clerking for the Hon. Robert S. Gawthrop III (E.D. Pa.), Mr. Fredericks spent seven years
      practicing securities and complex commercial litigation at Simpson Thacher & Bartlett LLP and
      Willkie Farr & Gallagher LLP in New York before moving to the plaintiffs' side of the bar in
      1996. Since 1996, Mr. Fredericks has represented investors as a lead or co-lead plaintiff in
      dozens of securities class actions, including In re Wachovia Preferred Securities and Bond/Notes
      Litig., (S.D.N.Y.) (total settlements of $627 million, reflecting the largest recovery ever in a pure
      Securities Act case not involving any parallel government fraud claims); In re Rite Aid Securities
      Litig. (E.D. Pa.) (total settlements of $323 million, including the then-second largest securities
      fraud settlement ever against a Big Four accounting firm); In re Sears Roebuck & Co. Sec. Litig.
      (N.D. Ill.) ($215 million settlement, representing the largest § 10(b) class action recovery ever not
      involving either a financial restatement or parallel government fraud claims); In re State Street
      ERISA Litig. (S.D.N.Y.) (one of the largest ERISA class settlements to date) and Irvine v.
      Imclone Systems, Inc. (S.D.N.Y.) ($75 million settlement). Mr. Fredericks also played a lead
      role on the team that obtained a rare 9-0 decision for securities fraud plaintiffs in the U.S.
      Supreme Court in Merck & Co., Inc. v. Reynolds, and has coauthored several amicus briefs in
      other Supreme Court cases involving securities issues (including the recent Halliburton and
      Amgen cases).

      Mr. Fredericks is currently recognized in the 2012-13 edition of "America's Best Lawyers" in
      the field of commercial litigation, and is a frequent panelist on securities litigation programs


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      sponsored by various organizations, including the Practising Law Institute (PLI) and the
      American Law Institute/American Bar Association (ALI/ABA). He is also a member of the New
      York City Bar Association (former chair, Committee on Military Affairs and Justice), the
      Federal Bar Council and the American Bar Association.

      DARYL F. SCOTT graduated in 1981 from Vanderbilt University with a Bachelor of Arts in
      Economics. He received his Juris Doctorate from Creighton University School of Law in 1984,
      and a Masters of Taxation from Georgetown University Law Center in 1986. Mr. Scott is
      involved in complex securities litigation at Scott+Scott. In addition to his work with the Firm,
      Mr. Scott has specialized in private foundation and ERISA law. He was formerly an executive
      officer of a private equity firm that held a majority interest in a number of significant
      corporations. Mr. Scott is admitted to the Supreme Court of Virginia and a member of the
      Virginia Bar Association and the Connecticut Bar Association.

      MARIA K. TOUGAS is a graduate of Bowdoin College (B.A., magna cum laude, 1985) and
      Western New England College School of Law (J.D. 1989), where she was a member of the
      National Moot Court Team. Ms. Tougas' experience includes complex commercial litigation,
      creditor's rights, and bankruptcy. At Scott+Scott, Ms. Tougas is actively engaged in complex
      class action litigation, including securities, consumer, and antitrust litigation. She also focuses
      on bankruptcy and creditors' rights issues associated with complex class action litigation.
      Ms. Tougas actively practices all types of commercial litigation. She is admitted to practice in
      Connecticut, as well as the U.S. Court of Appeals for the Second Circuit.

      DEIRDRE DEVANEY is a graduate of New York University (B.A., cum laude, 1990) and the
      University of Connecticut School of Law (J.D., with honors, 1998) where she was the managing
      editor of the Connecticut Journal of International Law. Ms. Devaney's experience includes
      commercial and probate litigation, as well as trusts and estates. Currently, Ms. Devaney's
      practice areas include commercial and securities litigation, including: In re Priceline.com, Inc.
      Securities Litigation, among others. Ms. Devaney is admitted to practice in Connecticut, New
      York, and the United States District Court for the District of Connecticut.

      AMANDA F. LAWRENCE is a graduate of Dartmouth College (B.A., cum laude, 1998) and
      Yale Law School (J.D. 2002). During law school, Ms. Lawrence worked for large firms in
      Washington, DC, New York, and Cleveland. After graduating from Yale, she worked in-house
      at a tax lien securitization company and for several years at a large Hartford-based law firm. At
      Scott+Scott, she is actively engaged in the firm's complex securities, corporate governance, and
      antitrust litigation. Ms. Lawrence is also an avid cyclist, having obtained five NCAA National
      Champion titles, and raced throughout the United States, Europe, Bermuda, and, most recently,
      Pakistan. She is licensed to practice in Connecticut.

      ERIN GREEN COMITE is a graduate of Dartmouth College (B.A., magna cum laude, 1994)
      and the University of Washington School of Law (J.D. 2002). Prior to entering law school,
      Ms. Comite was a legal assistant at the White House during the Clinton Administration.

      Ms. Comite is experienced in all aspects of complex pretrial litigation and is particularly
      accomplished in achieving favorable results in discovery disputes. In Hohider v. United Parcel



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      Service, Inc., a class action brought on behalf of UPS employees who were "regarded as"
      disabled under the American with Disabilities Act ("ADA"), Ms. Comite spearheaded a nearly
      year-long investigation into every facet of UPS's preservation methods, requiring intensive, full-
      time efforts by a team of attorneys and paralegals well beyond that required in the normal course
      of pretrial litigation. Ms. Comite assisted in devising the plan of investigation in weekly
      conference calls with the Special Master, coordinated the review of over 30,000 documents that
      required meticulous examination for evidence of spoliation, and prepared dozens of briefs on
      electronic discovery preservation obligations, privilege, and ramifications of spoliation
      allegations on the case. Ms. Comite's work was instrumental in structuring the settlement of the
      ADA case on behalf of UPS employees.

      At Scott+Scott, Ms. Comite actively is engaged in the Firm's complex securities, corporate
      governance, and consumer rights class action litigation, including Dime Bank v. Merrill Lynch
      (Conn. Super.), Grammas v. Ritter (Ala. Super.), In re Nutella Marketing and Sales Practices
      Litig. (D.N.J.), and In re Gerber Probiotic Sales Practices Litig. (D.N.J.), among others. She is
      licensed to practice in Connecticut.

      KRISTEN M. ANDERSON's practice focuses on complex litigation with an emphasis on
      antitrust matters, including representative cases In re Currency Conversion Fee Antitrust
      Litigation, MDL 1409 (S.D.N.Y.); In re Payment Card Interchange Fee and Merchant Discount
      Antitrust Litigation, MDL 1720 (E.D.N.Y.); Dahl v. Bain Capital Partners, LLC (D. Mass); Ross
      v. Bank of America, N.A., (S.D.N.Y.); In re WellPoint UCR (C.D. Cal.); and In re Aetna UCR
      Litigation, MDL 2020 (D.N.J.).

      Ms. Anderson is an active member of the American Bar Association's Section of Antitrust Law.
      She served as a contributing author to the American Bar Association's 2010 Annual Review of
      Antitrust Law Developments and also authored a chapter of the forthcoming publication of the
      Antitrust Discovery Handbook (2d ed.). She is also the Young Lawyer Representative to the
      Books and Treatises Committee. In addition, Ms. Anderson is an active member of the State Bar
      of California's Antitrust and Unfair Competition Law Section, serving as an editor for
      Competition: Journal of the Antitrust and Unfair Competition Section of the State Bar of
      California.

      Ms. Anderson is active in Scott+Scott's continuing legal education programs, speaking on
      pleading standards after Twombly and Iqbal, e-discovery and antitrust issues, and Supreme Court
      case updates. Ms. Anderson is also a regular contributor and editor of Scott+Scott's monthly
      newsletter.

      Ms. Anderson is a graduate of St. Louis University (B.A., Philosophy, 2003) and the University
      of California, Hastings College of the Law (J.D. 2006). During law school, Ms. Anderson
      served as an extern at the U.S. Department of Justice's Antitrust Division in San Francisco.
      Ms. Anderson also served as an extern to Justice Kathryn Mickle Werdegar of the Supreme
      Court of California, and was the research assistant to Professor James R. McCall in the areas of
      antitrust and comparative antitrust law.




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      Ms. Anderson is admitted to practice by the Supreme Court of the State of California and all
      California United States District Courts.

      DAVID H. GOLDBERGER is a graduate of the University of Colorado (B.A. 1999) and
      California Western School of Law (J.D. 2002). Mr. Goldberger is actively involved in the
      Firm's complex securities and antitrust litigation, including: In re Priceline.com, Inc. Securities
      Litigation, In re GM ERISA Litigation, and In re Plastic Additives Antitrust Litigation, among
      others. He is licensed to practice in California.

      HAL CUNNINGHAM is a graduate of Murray State University (B.S., Biological Chemistry,
      1997) and the University of San Diego School of Law (J.D. 2005). In addition to his law
      practice, Mr. Cunningham has over eight years of research and development experience in the
      chemical and pharmaceutical industries. He is currently is involved in the Firm's securities and
      consumer litigation Mr. Cunningham is licensed to practice in California..

      THOMAS LAUGHLIN is a graduate of Yale University (B.A., cum laude, History 2001) and
      The New York University School of Law (J.D., cum laude, 2005). After graduating from law
      school, Mr. Laughlin clerked for the Honorable Irma E. Gonzalez, United States District Court
      for the Southern District of California. Mr. Laughlin's practice areas include securities class
      action litigation, corporate governance, and other complex commercial litigation, including
      among others: In re Tetra Technologies, Inc. Securities Litigation and Fulton County Employees'
      Retirement System, et al. v. MGIC Investment Corporation, et al. Mr. Laughlin is a member of
      the New York bar.

      MAX SCHWARTZ is a graduate of Columbia College (B.A., cum laude, 2002) and NYU
      School of Law (J.D. 2005). Mr. Schwartz focuses on antitrust and securities matters, and is
      experienced in all aspects of complex commercial disputes. He has litigated in federal and state
      courts, including arguing before several appellate courts, and practiced before the Federal Trade
      Commission and the Department of Justice. His cases have involved the healthcare,
      pharmaceuticals, information technology and financial industries, among others. Mr. Schwartz
      has represented numerous pro bono clients and has received an award from the Legal Aid
      Society for the results he helped achieve. Prior to joining Scott+Scott, Mr. Schwartz practiced at
      a leading international law firm. He is a member of the American Bar Association, the New
      York City Bar Association, and is admitted to practice in New York and the United States
      District Court for the Southern District of New York.

      PENELOPE D. ABDIEL is a graduate of the University of Melbourne (BA (Honors), DipML
      (Indon), 2005) and the Australian National University College of Law (JD, 2008,
      GradDipLegPrac, 2009). As an undergraduate, Ms. Abdiel assisted in writing and editing the
      Oxford Companion to Australian Politics. While obtaining her law degree from the Australian
      National University, Ms. Abdiel was a summer clerk with the Australian Attorney-General's
      Department and a student editor for the University's Federal Law Review. At Scott+Scott,
      Ms. Abdiel's practice areas include complex antitrust, consumer, and other representative
      litigation. Ms. Abdiel is admitted to practice in Australia, California and New York.




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      STEPHEN TETI graduated from Fairfield University (B.A., cum laude, 2007) and the
      Quinnipiac University School of Law (J.D., magna cum laude, 2010). He is a member of the
      Connecticut Bar. During law school, Mr. Teti served as Publications Editor on the Quinnipiac
      Law Review. Further, he worked as an intern in the State of Connecticut Office of the Attorney
      General, a judicial extern to the Honorable Stefan R. Underhill in the United States District
      Court for the District of Connecticut, and a legislative extern to the Judiciary Committee of the
      Connecticut General Assembly. Prior to joining Scott+Scott, Mr. Teti clerked for the judges of
      the Connecticut Superior Court. Mr. Teti's practice areas include securities, consumer rights,
      and corporate governance.

      JOHN JASNOCH graduated from Creighton University (B.A., cum laude, Political Science
      2007) and The University of Nebraska College of Law (J.D. 2010). Mr. Jasnoch's main practice
      areas include securities, antitrust, shareholder derivative actions, and other complex litigation.
      He currently represents the certified class of plaintiffs in In re Washington Mutual Mortgage-
      Backed Securities Litigation, No. 2:09-cv-00037 (W.D. Wash). Mr. Jasnoch is a member of the
      California Bar, the San Diego County Bar Association, and the Consumer Attorneys of
      California.

      MICHAEL G. BURNETT graduated from Creighton University (B.A. 1981) and Creighton
      University School of Law (J.D. 1984). Mr. Burnett practices complex securities litigation at
      Scott+Scott. In addition to his work with the Firm, Mr. Burnett has specialized in intellectual
      property and related law. Mr. Burnett is admitted to the Nebraska Supreme Court and United
      States District Court for the District of Nebraska. He is a member of the Nebraska Bar
      Association.

      RYAN WAGENLEITNER graduated from California State University, Fresno (B.S., magna
      cum laude, 2000), California Western School of Law (J.D., cum laude, 2008), and New York
      University School of Law (LL.M in Taxation, 2009). Following his undergraduate degree,
      Mr. Wagenleitner began his career at PricewaterhouseCoopers, LLP where he worked as a tax
      consultant. While obtaining his law degree, Mr. Wagenleitner worked as a summer extern for
      the Honorable Robert N. Kwan, United States Bankruptcy Court for the Central District of
      California in Santa Ana, California. At Scott+Scott, Mr. Wagenleitner's practice areas include
      securities class action litigation, shareholder derivative lawsuits, and consumer litigation.
      Mr. Wagenleitner is admitted to practice in California.

      JOSEPH D. COHEN graduated from the University of Rhode Island (B.A. 1986), Case
      Western Reserve University School of Law (J.D. 1989), and New York University School of
      Law (LL.M., Corporate Law, 1990). He is a member of the California, Rhode Island, and
      District of Columbia Bars. Mr. Cohen represents plaintiffs in complex litigation in federal and
      state courts throughout the country. He has successfully prosecuted numerous securities fraud,
      consumer fraud and constitutional law cases. Mr. Cohen has taken a lead role in: Jordan v.
      California Department of Motor Vehicles (Sacramento, Cal.) (complex action in which the
      California Court of Appeals held that California's Non-Resident Vehicle $300 Smog Impact Fee
      violated the Commerce Clause of the United States Constitution, paving the way for the creation
      of a $665 million fund and full refunds, with interest, to 1.7 million motorists); In re Geodyne
      Resources, Inc. Sec. Litig. (Harris Cty. Tex.) (settlement of securities fraud class action,


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      including related litigation, totaling over $200 million); In re Community Psychiatric Centers
      Sec. Litig. (C.D. Cal.) (settlement of $55.5 million was obtained from the company and its
      auditors, Ernst & Young, LLP); In re McLeodUSA Inc., Sec. Litig. (N.D. Iowa) ($30 million
      settlement); In re Arakis Energy Corp. Sec. Litig. (E.D.N.Y.) ($24 million settlement); In re
      Metris Companies, Inc., Sec. Litig. (D. Minn.) ($7.5 million settlement); and In re Landry's
      Seafood Restaurants, Inc. Sec. Litig. (S.D. Tex.) ($6 million settlement). Mr. Cohen has also co-
      authored the following articles: "Mitsubishi and Shearson: A Misplaced Trust in Arbitration,"
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      Common Stock and Its Effect on Shareholders and Legislators," American Business Law
      Association National Proceedings (Refereed Proceedings), August 1988.

      ANNE L. BOX graduated from the University of Tulsa (B.A., Economics 1985; J.D. 1988).
      While in law school, she was the Articles Editor for the Energy Law Journal and won the Scribes
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      Attorney in Tarrant County, Texas, where she tried over 80 felony cases to verdict and was
      elevated to chief prosecutor in 1998. Her practice focuses on securities fraud. Prominent cases
      include: Enron, Dynegy, UnitedHealth, Morgan Stanley SIV and Abercrombie. In 2008,
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      GARY D. FOSTER is a graduate of West Virginia Wesleyan College (B.S. cum laude, Biology
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      STEPHANIE HACKETT is a graduate of the University of Iowa (B.S. Political Science,
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      Ms. Hackett primarily practices in the areas of securities, antitrust and employment law,
      including: In re Plastic Additives Antitrust Litigation; Tucker v. Scrushy; and Hohider v. UPS.
      As a part of her pro bono work, Ms. Hackett has worked with the San Diego Volunteer Legal
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      JOE PETTIGREW graduated from Carleton College (B.A., cum laude, Art History 1998) and
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      include securities, antitrust, and ERISA litigation, including: Aon Corporation Securities
      Litigation; Visa/MasterCard Interchange Antitrust Litigation; and GM ERISA Litigation.




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                                               Exhibit 3
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      Mr. Pettigrew is admitted to practice in the State of California and the United States District
      Court for the Southern District of California.

      TROY TERPENING is a native San Diegan and a graduate of San Diego State University
      (B.A., 1998) and California Western School of Law (J.D. 2001). He is a member of California
      Bar. Mr. Terpening has a very broad legal background and has worked in -house for both venture
      capital and large financial institutions. Mr. Terpening is actively engaged in the Firm's complex
      securities, corporate governance, and antitrust litigation.

      EDWARD SIGNAIGO graduated from the University of San Diego (B.B.A., magna cum
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      Yugoslavia. Mr. Signaigo is currently involved in the Firm's consumer and antitrust litigation.
      Mr. Signaigo is an active member of the Honorable William B. Enright American Inn of Court.
      He is also a member of the California Bar, the Consumer Attorneys of San Diego and the San
      Diego County Bar Association.




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     1
                                    CERTIFICATE OF SERVICE
     2
               I hereby certify that on September 23, 2013, I authorized the electronic filing of
     3
         the foregoing with the Clerk of the Court using the CM/ECF system which will send
     4
         notification of such filing to the e-mail addresses denoted on the attached Electronic
     5
         Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
     6
         document or paper via the United States Postal Service to the non-CM/ECF
     7
         participants indicated on the attached Manual Notice List.
     8
               I certify under penalty of perjury under the laws of the United States of America
     9
         that the foregoing is true and correct. Executed on September 23, 2013.
    10
    11                                               s/ Spencer A. Burkholz
                                                     SPENCER A. BURKHOLZ
    12
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    13                                                     & DOWD LLP
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